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15   Platforms, Inc.
16
                                 UNITED STATES DISTRICT COURT
17
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
18
                                        OAKLAND DIVISION
19
      WHATSAPP LLC, and                 )
20                                      )             Case No. 4:19-cv-07123-PJH
      META PLATFORMS INC.,
                                        )
21                                      )
                      Plaintiffs,       )             PLAINTIFFS’ STATEMENT IN RE-
22                                      )             SPONSE TO DEFENDANTS’ ADMINIS-
             v.                         )             TRATIVE MOTION TO FILE UNDER
23                                      )             SEAL
24    NSO GROUP TECHNOLOGIES LIMITED )
      and Q CYBER TECHNOLOGIES LIMITED, )             Ctrm:    3
                                        )             Judge:   Hon. Phyllis J. Hamilton
25                                      )
                      Defendants.       )
26                                                    Action Filed: October 29, 2019
                                        )
                                        )
27                                      )
                                        )
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 1          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2          Pursuant to Civil Local Rule 79-5(f)(3), Plaintiffs WhatsApp LLC and Meta Platforms, Inc.

 3   (“Plaintiffs”), by and through their counsel, respectfully submit this Statement in Response to the

 4   Administrative Motion to Consider Whether Another Party’s Material Should Be Filed Under Seal

 5   (the “Administrative Motion”) filed by Defendants NSO Group Technologies Limited and Q Cyber

 6   Technologies Limited (“NSO”) identifying certain sealed materials filed in connection with NSO’s

 7   Motion to Dismiss or for Summary Judgment for Lack of Personal Jurisdiction and for Partial Sum-

 8   mary Judgment, including the Declaration of Aaron Craig (the “Craig Declaration”) and the attached

 9   Exhibits (together with the Craig Declaration, the “Sealed Materials”), as containing information that

10   should be filed under seal, including as referencing or containing materials designated as “Highly

11   Confidential – Attorneys’ Eyes Only” by Plaintiffs. Dkt. No. 396.

12          Plaintiffs request that the Court keep under seal only certain sealed material attached to the

13   Declaration of Joseph Akrotirianakis (which NSO filed as Exhibit 4 to the Craig Declaration). Spe-

14   cifically, Plaintiffs request that the Court keep only Exhibits R through V entirely under seal and

15   keep only the redacted portions of Exhibits K, L, and W under seal as indicated in the versions of

16   those exhibits attached as Exhibits 1-3 to the Declaration of Craig T. Cagney filed herewith (“Plain-

17   tiffs’ Sealed Materials”), and do so pursuant to Local Rules 79-5(c) and (d). Plaintiffs have no ob-

18   jection to unsealing the remaining Sealed Materials that were produced by Plaintiffs. See Dkt. No.

19   396-5, Exs. F, P, and Q. With respect to the Sealed Materials filed by NSO (the “NSO Sealed Ma-

20   terials”) (see Dkt. No. 396-2, Ex. 1; Dkt. No. 396-3, Ex. 2; Dkt. No. 396-4, Exs. 3, F; and Dkt. No.

21   396-5, Exs. 4, G–J, M–O), NSO has not appropriately applied the “compelling reasons” standard to

22   overcome the presumption of public access to judicial documents, because NSO does not set forth

23   the “compelling reasons” on document-by-document basis. With respect to NSO’s redactions to the

24   Craig Declaration itself, see Dkt. No. 396-2, Ex. 1, Plaintiffs object to those portions remaining under

25   seal because that information is already in the public domain.

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     PLAINTIFFS’ RESPONSE TO DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
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 1            I.    Plaintiffs’ Sealed Materials

 2          Plaintiffs’ Sealed Materials comprise or refer to materials that have been designated and pro-

 3   duced in discovery by Plaintiffs as “Highly Confidential – Attorney’s Eyes Only” pursuant to the

 4   August 31, 2020 Stipulated Protective Order, Dkt. No. 132.

 5          Exhibit R contains sensitive business information, including information about Plaintiffs’ in-

 6   ternal decision-making process that is not relevant to any of the issues in this case; indeed, NSO’s

 7   summary judgment motion references only very limited portions of that document. See Dkt. No.

 8   396-5, Ex. R; Cagney Decl. ¶ 3. Exhibits S through V are Plaintiffs’ internal documents reflecting

 9   sensitive and confidential internal security operations and procedures, which are cited for very lim-

10   ited reasons in NSO’s summary judgment motion that are unrelated to those confidential operations

11   and procedures. See Dkt. No. 396-5, Exs. S–V; Cagney Decl. ¶ 4.

12          Courts have routinely held that such confidential business information satisfies the compel-

13   ling reasons standard applicable here. Jones v. PGA Tour, Inc., 2023 WL 7440303, at *2 (N.D. Cal.

14   Nov. 8, 2023) (granting sealing motion with respect to information including “confidential business

15   information” and “internal decisionmaking processes”); see also In re Sony Gaming Networks &

16   Customer Data Sec. Breach Litig., 2015 WL 13653885, at *1 (S.D. Cal. Jan. 20, 2015) (permitting

17   sealing where the records were “subject to a contractual duty of confidentiality” and “harm could

18   result to [the parties’] business operations” if the information were prematurely disclosed); In re

19   Qualcomm Litig., 2017 WL 5176922, at *2 (S.D. Cal. Nov. 8, 2017) (compelling reasons existed to

20   file under seal records that implicate “confidential business information” subject to confidentiality

21   agreements). Publicly disclosing these materials would risk harm to Plaintiffs’ business and provide

22   competitors an unfair advantage by providing access to internal business deliberations. Cagney Decl.

23   ¶ 4. This harm could not be mitigated by any means less restrictive than sealing. Id.

24          Compelling reasons also exist to protect the confidential information and privacy interests of

25   certain of Plaintiffs’ non-testifying individual employees. Specifically, Exhibits L, K, and R through

26   W contain the names, email addresses, and phone numbers, of certain of Plaintiffs’ non-testifying

27   employees whose identities are not pertinent to any issue, claim, or defense in this Action. See Dkt.

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 1   396-5, Exs. L, K, R–W; Cagney Decl., ¶ 5, Exs. 1-3. “[R]edaction of [their] identifying information

 2   is particularly appropriate here, because the public’s interest in the name of [an employee] is likely

 3   insignificant, as the exact name is irrelevant to the legal issues in this case.” O’Connor v. Uber

 4   Techs., Inc., 2015 WL 355496, at *2 (N.D. Cal. Jan. 27, 2015); see also Nursing Home Pension Fund

 5   v. Oracle Corp., 2007 WL 3232267, at *1 (N.D. Cal. Nov. 1, 2007) (“The Ninth Circuit has found

 6   that compelling reasons exist to keep personal information confidential to protect an individual’s

 7   privacy interest and to prevent exposure to harm or identity theft.” (citing Foltz v. State Farm Mut.

 8   Auto. Ins. Co., 331 F.3d 1122, 1134 (9th Cir. 2003))); Ehret v. Uber Techs., Inc., 2015 WL 12977024,

 9   at *3 (N.D. Cal. Dec. 2, 2015) (“While the . . . employees are employed by a party in this case and

10   have a lower privacy interest, their specific e-mail addresses are not relevant to the merits of the

11   motion of this case.”). In addition, the public disclosure of Plaintiffs’ employees’ names in connec-

12   tion with litigation has sometimes been followed by harassment, online threats, and/or suspicious

13   phone calls, text-messages or emails, particularly in cases with significant media attention. There is

14   little, if any public interest, in those identities, so the private interests justify sealing. Cagney

15   Decl. ¶ 5.

16           For the foregoing reasons, Plaintiffs request that Plaintiffs’ Sealed Materials remain under

17   seal. This request is narrowly tailored to only sealable material (as submitted concurrently herewith).

18            II.    NSO’s Sealed Materials

19           Although NSO notes that this Court has granted previous administrative motions to seal (Dkt.

20   No. 396 at 3), the standard applicable to those prior motions was “good cause” and, as this Court

21   explained in a prior order, “[a]t a later stage of the litigation,” such as dispositive motions, “the court

22   will re-evaluate whether continued sealing is warranted under the ‘compelling reasons’ standard.”

23   See Dkt. No. 217 at 1 (quoting Ctr. For Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1096–97

24   (9th Cir. 2016)); see also Am. Auto. Ass’n of N. California, Nevada & Utah v. Gen. Motors LLC,

25   2019 WL 1206748, at *1 (N.D. Cal. Mar. 14, 2019) (explaining that the appropriate standard for

26   sealing on a motion for summary judgment is “compelling reasons supported by specific factual

27   findings that outweigh the general history of access and the public policies favoring disclosure”);

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 1   Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178–79 (9th Cir. 2006) (“Unless a particular

 2   court record is one ‘traditionally kept secret,’ a ‘strong presumption in favor of access’ is the starting

 3   point” and “[a] party seeking to seal a judicial record then bears sthe burden of overcoming this strong

 4   presumption by meeting the ‘compelling reasons’ standard” (quoting Foltz v. State Farm Mut. Auto.

 5   Ins. Co., 331 F.3d 1122, 1136 (9th Cir. 2003))). In other words, the relatively more liberal approach

 6   to sealing that has been applied at prior stages of this litigation no longer befits the current procedural

 7   posture, and a heightened “compelling reasons” standard must be satisfied to support continued seal-

 8   ing.

 9           This “compelling reasons” standard requires the moving party to describe the reasons for

10   sealing with specificity. See, e.g., Kamakana, 447 F.3d at 1184 (“purport[ing] to justify each redac-

11   tion by listing one of four general categories of privilege . . . without any further elaboration or any

12   specific linkage with the documents, does not satisfy the [compelling reasons] burden). Even under

13   the more liberal “good cause” standard, the Court has indeed instructed the parties that line-by-line

14   explanations for proposed material to be sealed are required because “any sealing should be as narrow

15   as possible.” Feb. 16, 2023 Case Mgt. Conf. Tr. at 27:8–30:7. NSO’s Administrative Motion, how-

16   ever, does not undertake a line-by-line analysis, and thus falls short of this standard.

17           In addition, NSO seeks to seal several paragraphs of the Craig Declaration that describe the

18   Israeli restrictions. See Dkt. No. 396-1 ¶¶ 3–10. As noted in Plaintiffs’ motion for sanctions, Dkt.

19   No. 405-2 at 3–5, those Israeli restrictions have been described in multiple public reports and are

20   accordingly matters of public record.1 No compelling reason can exist to protect from disclosure

21   information that has already been made public. Kamakana, 447 F.3d at 1184 (no compelling reason

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             1
23            See Harry Davies & Stephanie Kirchgaessner, Israel Tried to Frustrate US Lawsuit Over
     Pegasus Spyware, Leak Suggests, The Guardian (July 25, 2024, 12:00 PM), https://www.theguard-
24   ian.com/news/article/2024/jul/25/israel-tried-to-frustrate-us-lawsuit-over-pegasus-spywareleak-sug-
     gests; Phineas Rueckert & Karine Pfenniger, Israel Maneuvered to Prevent Disclosure of State Se-
25
     crets Amid WhatsApp vs NSO, Forbidden Stories (July 25, 2024), https://forbiddenstories.org/actual-
26   ites_posts/israel-maneuvered-to-prevent-disclosure-of-state-secretsamid-whatsapp-vs-nso-lawsuit;
     Amnesty International, Israel’s Attempt to Sway WhatsApp Case Casts Doubt on Its Ability to Deal
27   with NSO Spyware Cases (July 25, 2024), https://www.amnesty.org/en/latest/news/2024/07/israels-
     attempt-to-sway-whatsapp-case-casts-doubt-on-itsability-to-deal-with-nso-spyware-cases.
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 1   to seal documents where “many names or references for which the United States sought redaction

 2   were either already publicly available or were available in other documents being produced,” includ-

 3   ing a press release). As such, NSO has not met its burden to redact these portions of the Craig Dec-

 4   laration.

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 8    Dated: October 4, 2024                       Respectfully Submitted,

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